                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


VICTOR ASHE, et al.,                             )
                                                 )
        Plaintiffs,                              )
                                                 )        NO. 3:23-cv-01256
v.                                               )
                                                 )        JUDGE RICHARDSON
TRE HARGETT, et al.,                             )
                                                 )
        Defendants.                              )

                                             ORDER

       Pending before the Court is “Defendants’ Motion to Dismiss” (Doc. No. 31, “Motion”)

seeking to dismiss Plaintiffs’ action for failure to state a claim upon which relief can be granted,

pursuant to Fed. R. Civ. P. 12(b)(6), and lack of subject-matter jurisdiction, pursuant to Fed. R.

Civ. P. 12(b)(1). The Motion is supported by a memorandum of law (Doc. No. 32). Plaintiffs filed

a response (Doc. No. 34) in opposition to the Motion, to which Defendants filed a reply (Doc. No.

36).

       For the reasons stated in the accompanying Memorandum Opinion, the Motion is

GRANTED, and this action is dismissed without prejudice for lack of subject-matter jurisdiction

pursuant to Rule 12(b)(1), without the Court reaching Defendants’ request for dismissal pursuant

to Rule 12(b)(6). In light of the dismissal of this action, Plaintiffs’ “Motion for Preliminary

Injunction” (Doc. No. 21) is DENIED as moot. The Clerk is directed to enter judgment pursuant

to Fed. R. Civ. P. 58 and close the file.

       IT IS SO ORDERED.

                                                     ___________________________________
                                                     ELI RICHARDSON
                                                     UNITED STATES DISTRICT JUDGE



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